                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION

CECIL OWENS,
                                              :   Case No.
            Plaintiff,                        :
                                              :
      v.                                      :
                                              :
BLUESTEM BRANDS, INC.                         :
d/b/a FINGERHUT                               :
                                              :
            Defendant.                        :

                                       COMPLAINT

      CECIL OWENS (Plaintiff), by his attorneys, alleges the following against BLUESTEM

BRANDS, INC. d/b/a FINGERHUT (Defendant):

                                    INTRODUCTION

  1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act (FDCPA), 15

      U.S.C. 1692, et seq.

                              JURISDICTION AND VENUE

   2. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

      actions may be brought and heard before “any appropriate United States district court

      without regard to the amount in controversy.”

   3. Because Defendant conducts business in North Carolina, personal jurisdiction is

      established.

   4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).




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                                PLAINTIFF’S COMPLAINT



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                                        PARTIES

5. Plaintiff is a natural person residing in Selma, Johnston County, North Carolina.

6. Defendant is a national corporation with a business office in Eden Prairie, Minnesota.

7. Defendant acted through its agents, employees, officers, members, directors, heirs,

   successors, assigns, principals, trustees, sureties, subrogees, representatives, and

   insurers.

                                FACTUAL ALLEGATIONS
8. In or around 2014, Defendant began constantly and consistently placing telephone calls

   to plaintiff in an attempt to collect a debt an alleged debt.

9. Upon information and belief, Plaintiff does not owe the debt Defendant is attempting to

   collect.

10. Defendant places telephone calls to Plaintiff on Plaintiff’s cellular telephone at 682-554-

   28XX.

11. Defendant places telephone calls from numbers including, but not limited to, 800-503-

   2463, 800-503-2370, and 866-836-8987.

12. Per its prior business practices, each collection call placed by Defendant to Plaintiff was

   placed using an automatic telephone dialing system.

13. In or around October of 2014, Plaintiff called Defendant and spoke to Defendant’s

   representative.

14. During the course of the telephone conversation in or around October 2014, Plaintiff

   requested that Defendant cease placing calls to his cellular telephone.

15. Plaintiff never provided Defendant with any consent, express, implicit, or otherwise, to

   place automated calls to his cellular telephone.

16. Even if any such consent was provided, Plaintiff revoked any consent, either explicitly or
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       implicitly, to receive automated telephone calls from Defendant on his cellular telephone

       in or around October 2014.

   17. Despite Plaintiff’s request to cease, Defendant placed at least forty-one (41) collection

       calls to Plaintiff.

                               COUNT I
   DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT

   18. Defendant’s actions alleged supra constitute numerous negligent violations of the TCPA,

       entitling Plaintiff to an award of $500.00 in statutory damages for each and every

       violation pursuant to 47 U.S.C. § 227(b)(3)(B).

   19. Defendant’s actions alleged supra constitute numerous and multiple knowing and/or

       willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory

       damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47

       U.S.C. § 227(b)(3)(C).

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

   20. Statutory damages of $500.00 for each and every negligent violation of the TCPA

       pursuant to 47 U.S.C. § (b)(3)(B);

   21. Statutory damages of $1500.00 for each and every knowing and/or willful violation of

       the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);

   22. All court costs, witness fees and other fees incurred; and

   23. Any other relief that this Honorable Court deems appropriate.




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                                 DEMAND FOR JURY TRIAL

          Please take notice that Plaintiff, CECIL OWENS, demands a jury trial in this cause of

action.

Dated: March 4, 2015                  RESPECTFULLY SUBMITTED,


                                      By: _s/ Shireen Hormozdi_____
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